                                                                                                         cLeRK'
                                                                                                              s OFFICE U.s.DlyTRlcTCOURT
                                                                                                                     ATABINGDON,VA
     Aoc4sa (Rv.()wlg-vAw Aduitionsûs/l?lpudm entinacumir
                                                        palcase                                                          Fll-sn
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                    s                                                                         .                                    -- -           -


                                                                                                                        2CT 3g 2219
                                               TED STATES DISTRICT C0                                    T          JULIA C. UDLEY,CLERK
                                                  W estern D istrictofV irginia                                     av:
            LJNITED STATES 0FAMERICA                                    JUDGM ENT IN A CRIM INAL CAS
                              V.                                        Case N um ber: DVAW I19CR000011-001
          ADRJAN JO SE ROM ERO                                          Case N um ber:
          a/k/a Dre,a/k/a Dri,
          a/l
            da Joseph W ayne Green                                      U SM N um ber; 22587-084
                                                                        Helen E.Phillips
                                                                        Defendant'sAttorney
    THE DEFENDANT'
                 .
    (Xlpleadedguiltytocountts) One(1)
    Z pleadednolocontenderetocountts)
      which was accepted by thecourt.
    Z wasfoundguiltyoncountts)
      afterapleaofnotguilty,

    Thedefendantisadjtldicatedguiltyoftheseoffenses:
     Title & Section             NatureofO ffense                                                       O ffenseEnded              Count
21U.S.C.j 846,21 ConspiracytoDistributeandPossessW ithIntenttoDistribute50 Grams                           5/16/2018 /
U.S.C.j84l(b)(1)(A) orMoreofMethamphetamine(Actual)




          Thedefendantissentencedasprovidedinpages2through                    7       ofthisjudgment.Thesentenceisimposedpursuantto
    the Sentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguîltyoncountts)
Z Countts)                                  Z. is Z aredismissedonthemotionoftheUnitedStates.
        iliItisorderedthatthedefendqntmustnotifytheUnjtedSltesattorpeyforthisdiltrjctwithin30daysofynychangeofname,residepce
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ohrema
    defenja
          andtdmu
               resstunno
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                                                                                                                 cyes
                                                                                                                    pald.lforderedtopayrestitutlon,
                                                                        October30,2019
                                                                       DateoflmposftionofJudgment


                                                                       Signature f udge



                                                                       Jam esP.Jones,United StatesDistrictJudge
                                                                       NameandTitleofJudge

                                                                              Jôt 47 /
                                                                       Date




           Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 1 of 7 Pageid#: 343
AO2458       (Rev.09/19-VAW Additions05/17)JudgmentinCriminal
             CaseSheet2-Im prisonm ent                                                           .             .-             .-           -
                                                                                                Judgm ent-Page    2     of         7
D EFEN D AN T: ADRIAN JO SE ROM ERO a/k/aDre,a/k/aDri,a/k/aJosephW ayneGreen
CASE N UM BER :DVAW I19CR000011-001

                                                            IM PW SO NM ENT

         Thedefendantishereby com m ittedtothecustody oftheFederalBureauofPrisonstobeim prisoned foratotalterm of:

    Twohundredthilly-tive(235)months.



    NX ThecourtmakesthefollowingrecommendationstotheBureau ofPrisons:
    Thatthe defendantparticipatein theResidentialDrug Treatm entProgram w hile im prisoned and be designated to a facility forwhich
    hequalifiesclosestto Augusta,Georgia in orderto facilitatevisitsw ith fam ily members.


    I'
     X
     -I Thedefendantisremandedtothecustody oftheUnited StatesM arshal.

    UI Thedefendantshallsurrende'
     .                          rtotheUnitedStatesMarshalforthisdistrict:
         N     at                                 E1 a.m. N pom .
         Z asnotifiedbytheUnitedStatesMarshal.
    N Thedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignated bytheBureau ofPrisons:
         Z before         on
         Z asnotifiedbytheUnitedStatesMarshal.
               asnotifiedbytheProbation orPretrialServicesOftice.


                                                                M TUM
1haveexecutedthisjudgmentasfollows:




         Defendantdeliveredon                                                 . to                                                     '

a                                                   ,withacertifiedcopyofthisjudgment.


                                                                                            UNITED STATESMARSHAL

                                                                      By
                                                                                         DEPUTY UNITED STATESMARSHAL




         Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 2 of 7 Pageid#: 344
AO2458 (Rev.09/19-VAW Additions05/17)JudgmentfnaCriminalCase
         Sheet3- SupervisedRelease
                                                                                              Judgment-page   3    of       7
DEFENDANT: ADRIAN JOSE ROMERO a/lç/aDre,a/k/aDri,a/k/aJosephW ayneGreen
CASE N UM BER:DVAW 119CR000011-001
                                                SUPER VISED RELEASE
Upon release from imprisonm ent,you willbeon supervised '
                                                        release foraterm of:
Five(5)years.




                                             M ANDATO RY CO NDITIO NS
     You m ustnotcom mitanotherfederal,state orlocalcrim e.
     E11Youmustmakerestitutioninaccordancewithsections3663and3663A,oranyotherstatuteauthorizingasentenceof
         restitution.(checkyt
                            zlw/fccp/el
     Y ou mustnotunlawfully possessacontrolledsubstance.
     You mustrefrain from any unlawfuluseofa controlled substance. You m ustsubm itto onedrug testw ithin 15 daysofrelease from
     im prisonmentandatleasttwoperiodicdrugteststhereafter,asdetennined by thecourt.
           IZ Theabovedrugtestingconditionissuspended,basedonthecourt'
                                                                     sdeterminationthatyou
                posealow riskoffuturesubstanceabuse.(checkêapplicable)
   X YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkêapplicable)
6. (
   l()YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,etseq.jas
        directed by the probation officer,the Bureau ofPrisons, orany statesex offenderregistrationagencyinwhichyoureside,work,
        are astudent,orwereconvicted ofaqualifying offense. (checkfapplîcable)
     Z Youmustparticipateinanapprovedprogram fordomesticviolence.(checkœapplicabl
                                                                                e)
Youm ustcomplyw iththestandardconditionsthathavebeenadopted bythiscourtaswellaswithanyotherconditionsontheattached
page.                                                                  '



       Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 3 of 7 Pageid#: 345
AO 2458     (Rev.09/19-VAW Additi
                                ons05/17)JtldgmentinaCriminalCase
            Shcet3A - SupervisedRelease
                                                                                -               Judgment-page     4     of         7
 DEFENDANT: ADRIAN JOSE ROM ERO a/k/aDre,a/k/aDri,a/k/aJosephW ayneGreen
 CASE NUM BER:DVAW I19CR0000l1-001
                                      ST A N D A R D C O N D ITIO N S O F SU PE R V ISIO N

Aspal 4 ofyoursupelwised release,you Inustcomply with the following standard conditionsofsupelNision. These conditions are im posed
becausethey establish the basic expectations foryourbehaviorwhile on supervision and identify the m inim um tools needed by probation
officersto keep informed,repol'tto the coull about,and bring aboutimprovem ents in yourconductand condition.
     Youmustrezorttotheprobationofficeinthefederaljudicialdistrictwhereyouareatlthorizedtoresidewithin72hoursofyour
     release from lmprisonm ent,unlessthe probation officerinstructsyou to reportto adifferentprobationofficeorwithinadifferenttim e
     frame.
     AAerinitially reporting totheprobationoftlce,youwillreceiveinstructionsfroln thecourtortheprobationofficerabouthow and
     when you m ustreportto the probation officer,and youm ustreportto theprobation ofticerasinstructed.
     Youmustnotknowingly Ieavethefederaljudicialdistrictwhereyou areauthorizedtoresidewithoutfirstgetting permissionfrom the
     cot1l4orthe probation oftlcer.
     You m ustanswertrtlthfully the questions asked by yourprobation officer.
     Youmustliveataplaceapprovedbytheprobationofficer.Ifyouplantochangewhereyouliveoranythingabotltyourliving
     an'angements(suchasthepeopleyouIivewith),youmustnotlfythegrobationofficeratleastl0daysbeforethechange.lfnotifying
     the probation officerin advance isnotpossible due to unanticipated clrcumstances,you mustnotify the probation officerwithin 72
     hoursofbecoming awareofachangeorexyectedchange.
     Youm ustallow theprobationofGcertovisltyouatany tim eatyourhom eorelsewhere,andyoumustpermittheprobationofficerto
     takeany item sprohibitedbytheconditionsofyoursupervisionthatheorsheobservesinplainview.
     Youmtlstworkfulltime(atleast30Ilotlrsperweek)ataIawfultypeofemployment,unlesstheprobationofficerexctlsesyoufrom
     doing so. lfyou do nothave full-time em ploym entyou musttry to find full-time em ployment,unlessthe probation ofGcerexcuses
     youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositionoryourjob
     responsibblities),youmustnotifytheprobationofticeratleast10 daysbeforethechange.Ifnotifying theprobation officeratIeast10
    daysin advance isnotpossible dueto unanticipated circumstances,you mustnotify the probation ofscerw ithin 72 hoursof
    becoming awareofachange orexpected change.
8. You mustnotcommunicate orinteractw ith someone you know isengaged in crim inalactivity.lfyou know someone hasbeen
    convicted ofa felony,you mustnotknow ingly communicate orinteractwith thatperson withoutfirstgetting the perm ission ofthe
    Probation officer.                                                                         '
9. lfyouarearrestedorquestionedby alaw enforcementofficer,youmustnotifytheprobationofGcerwithin 72 hpurs.
10. Youmustnotown,possess,orhaveaccesst      oafirearm,ammtmition,destructlvedevice,ordangerousweapon(1.e.,anythingthatwas
     designed,orwasmodifiedfor,thespecificgurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchaktlsortasers).
     You lnustnotactormake any agreem entwlth a law enforcem entagency to actasacontidentialhum an sourceorinform antwithout
     firstgetting the permission ofthecourt.
     lftheprobationofficerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationomcermay
     requireyou to notify the person aboutthe risk and you mustcomply w ith thatinstruction. The probation ofticermay contactthe
     personandconfirm thatyou havenotit   sedthepersonabouttherisk.
     Youmustfollow theinstructionsoftheprobationofficerrelatedtotheconditionsofsupel        wision.


U .S.Probation OfficeUse Only
A U.S.probation officerhasinstructed m eon the conditionsspecified by the courtand has provided m ew ith a written copy ofthis
judgmentcontainingtheseconditions.Forfurtherinformationregardingtheseconditions,seeOvelwiew ofpl.obationandsupervised
Release Conditions,availablet'
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Defendant'sSignature




          Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 4 of 7 Pageid#: 346
 AO2458      (Rev.09/19-VAW Additions05/17)Judgmenti
                                                   naCriminalCase
             Sheet317-SupervisedRelease
                                                                                                  Judgm ent-page    5    of        7
 D EFEN D AN T: ADRIAN JOSE ROM ERO a/ldaDre,a/lc/a Dri, a/k/aJoseph W ayne Green
 CA SE N U M BER ;DVAW I19CR000011-001
                                      SPECTAI,CONDITIONS OF SUPERVISION
W hile on supew ised release,the defendant:

(1)Mustpayanymonetarypenaltythatisimposedbythisjudgmentinthemannerdirectedbythecourt;
(2)Mustresideinaresidencef'
                          reeoffirearms,ammunition,destructivedevices,anddangerousweapons;
(3)Mustsubmittowarrantlesssearchandseimzreofpersonandpropertybytheprobationofticerorotherlaw enforcementofficer,whenever
such ofticerhasreasonablesuspicion thatthe defendantisengaged in crim inalactivity;and

(4)Followingreleasefrom implisonment,thecourtwillevaluatedefendant'sstatt
                                                                        zsand determinewhether,aherincarceration,dnlg
rehabilitation isnecessaryand appropriate.Ifadditionalrehabilitation isdeem edappropriate, the defendantm ustparticipate in aprogram as
designatedby the court,upon consultation w ith theprobation officer, untilsuch tim e asthedefendanthassatisfied allthe requirem entsofthe
Program .




        Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 5 of 7 Pageid#: 347
AO 2458    (Rev.09/19-VAW Additions05/17)JudgmcntinaCriminalCase
           Sheet5-CriluinalMolleta:y Penalties
                                                                                            Judgment-page    6    of        7
DEFENDANT: ADRIAN JOSE ROM ERO a/k/aDre,a/lc/aDri,a/lc/aJosephW ayneGreen
CASE NUM BER:DVAW I19CR000011-001
                                              C R TM IN A T,M O N ET A R Y PEN A LTIE S
    Thedefendantm ustpay thetotalcriminalmonetary penaltiesunderthe schedule ofpaym entson Sheet6.

        Assessm ent                          Restitution             Fine            AVAA Assessm ent*        JVTA Assssm ent**
TOTALS S 100,00                          $                                       $


r-1 Thedeterminationofrestitutionisdeferreduntil                  .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
    aftersuch determination.

F-l Thedefendantmustmakerestitution (includingcommunityrcstittltion)to thefollowingpayeesin theamountlisted bclow.
     Ifthedefendantmakesapartialpaym ent,each payeeshallreceiveanapproxim ately proportionedpaym ent,unlessspecifiedotherwise
     inthepriority orderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C j3664(1),al1nonfederalvictimsmustbe
    paid before the United Statesispaid.
Nam e ofPayee                                              TotalLoss'
                                                                    z
                                                                    k*         Restitution Ordered          Priority orPercentage




TOTALS


(-l Restitutionamotmtorderedpursuanttopleaagreement$
I--I Thedefendantmustpay interestonrestitution andatlneofmorethan $2,500,unlesstherestitutionorfineispaid infullbeforethe
     fifleenthdayafterthedateofthejudgmentpursuantto18U.S.
                                                         C.j3612(9.AlIofthepaylnentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddelkult,pursuantto 18U.S.C.j3612(g).
r'
 -l Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopay interestanditisorderedthat:
     I--1 theinterestrequirementzswaivedforthe r-j lïne I  --I restitution.
     1-l theinterestrequirementforthe F-1 fine I' -1 restitutionismodified asfollows:

 * Amy.V icky,and Andy ChildPornography Victim Assistance Actof20l2,Pub.L.No.1l5-299.
 **Justice forV ictimsofTrafficking Actof2015, Pub.L.No.114-22.
 *** Findingsforthe totalamountofIossesare reqtlired tlnderChapters l09A , 1l0,lIOA,and 113A ofTitle 18foroffense
                                                                                                                'scomm itted
 onorafterSeptember13,1994,butbeforeApril23,1996.
          Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 6 of 7 Pageid#: 348
AO 2458     (Rev.09/19-VAW Additions05/17)JudgmentinaCriminalCase
            Sheet6-SchcdulcofPayluents
DEFENDANT: ADRIAN JOSE ROM ERO a/k/aDre,a/k/aDri,a/k/aJosephW ayneGreen                                 Judgm ent-Page 7 of 7
CASE M JM BER:DV AW I19CR000011-001
                                                SCH ED U LE O F PAY M EN TS
H avingassessedthedefendant'sabilitytopay,thetotalcrim inalm onetarypenaltiesaredueimm ediately andpayableasfollows:
   I
   '
   K Lumpsum paymentof$100.00               immediately,balancepayable
           (
           --1 notlaterthan                      ,or
          f--l inaccordancewith r-1C, r--1D, r--1E, /   -7 F or, r--1G belowl;or
   I
   --I Paymenttobeginimmediately(maybecombinedwith r-lC, I    --I1D, I--IF,or I  --IG belowl;or
   I
   --1 Paymentinequal                     (e.g.,weekly,monthly,quarterly)installmentsof$                    overaperiodof
                    (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterthedateofthisjudgment;or
   r-I Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                 overaperfodof
                    (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or
   I
   --I Paymentduringtheterm ofsupervisedreleasewillcommencewithin                            (e.g.,30or60days)afterreleasefrom
          imprisonm ent. Thecourtwillsetthe paymentplan based on an assessm entofthedefendant's ability to pay atthattim e;or
   I
   --I Duringtheterm ofimprisonment,paymentinequal                    (e.g.,weekly,monthly,quarterly)installmentsof
       $               ,or         % ofthedefendant'
                                                   sincome,whicheveris greater =tocommence .                     (e.g.,30or
       60days)afterthedateofthisjudgment;AN. Dpaymentinequal                       (e.g.,weekly,monthly,quarterly)
       installmentsof$                duringthetennofsupervisedrelease,tocommence                        (e.g.,30or60days)
          aAerrelease from im prisonm ent.
   I--l Specialinstnlctionsregardingthepaymentofcriminalmonetarypenalties:


Any installmentscheduleshallnotprecludeenforcementoftherestitution orfineorderbytheUnited Statesunder18U.S.C j'j3613and
3664(119.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsup'ervision,andthedefendant
shallnotify theprobation officerand theU.S.Attonley ofany change in the defendant'seconom ic circum stancesthatmay affectthe
defendant'sability to pay.
A11crim inalm onetary penaltiesshallbe made payable to the Clerk,U .S.D istlictCourt,210 Franklin Rd.,Suite 540,Roanoke,Virginia 24011,
fordisbursement.
Thedefendantshallreceive creditforallpaym entspreviously m ade tow ard any criminalm onetary penaltiesim posed,
Any obligationtopay restitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitmionhasbeen orwillbe
entered.
  I--IJointandSeveral
       DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  f--lThedefendantshallpaythecostofprosecution.
  1-7 Thedefendantshallpaythefollowingcourtcostts):
  I--IThedefendantshallforfeitthedefendant'
                                          sinterestinthefollowingpropertytotheUnitedStates:



 Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restimtionprincipal,(3)restitutioninterest,(4)AVAA assessment,
 (5)fineprincipal,(6)fineinterest,(7)communityrestimtion,(:)JVTA assessment,(9)penalties,and (10)costs,includingcostof
 prosecution and courtcosts.
           Case 1:19-cr-00011-JPJ-PMS Document 111 Filed 10/30/19 Page 7 of 7 Pageid#: 349
